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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

TEXAS LEAGUE OF UNITED LATIN                         )
AMERICAN CITIZENS; NATIONAL                          )
LEAGUE OF UNITED LATIN                               )
AMERICAN CITIZENS; and JULIE                         )
HILBERG, Individually and on Behalf                  )
of Others Similarly Situated,                        )
                                                     )
        Plaintiffs,                                  )     CIVIL ACTION NO. SA-19-CA-00074-FB
                                                     )
V.                                                   )
                                                     )
DAVID WHITLEY, in his Official Capacity              )
as Secretary of State for the State of Texas;        )
and KEN PAXTON, in his Official Capacity             )
as Attorney General for the State of Texas,          )
                                                     )
        Defendants.                                  )

                      NOTICE TO APPEAR FOR HEARING ON PLAINTIFFS’
                          MOTION FOR PRELIMINARY INJUNCTION

        IT IS ORDERED that this matter is SET for a hearing on Plaintiffs’ Motion for Preliminary

Injunction (docket no. 8) on Tuesday, February 19, 2019, at 9 a.m. in Courtroom Two of the John H.

Wood, Jr. United States Courthouse, 655 East César E. Chávez Blvd., San Antonio, Texas 78206. The

docket sheet reflects that summons has issued as to both defendants but neither has made an appearance

in this case, although counsel for plaintiffs has informed Court staff that the parties have been in contact

telephonically. Plaintiffs are therefore ORDERED to send a copy of this notice to defendants and/or

defense counsel as soon as practicable and advise the Court when they have done so.

        It is so ORDERED.

        SIGNED this 4th day of February, 2019.


                                          _________________________________________________
                                        FRED BIERY
                                        UNITED STATES DISTRICT JUDGE
